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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION AT LAFAYETTE


  In re: INOTIV, INC. SECURITIES                          Case No. 4:22-cv-00045-PPS-JEM
  LITIGATION



                    RULE 26(f) REPORT OF PARTIES’ PLANNING MEETING

              The parties conferred via electronic mail and telephonic conference under Fed. R. Civ. P.

 26(f) between April 9, 2024 and April 25, 2024, and agreed to this report on April 26, 2024.

 Representatives of Berman Tabacco participated as counsel of record for Lead Plaintiff, and

 representatives of Katten Muchin Rosenman participated as counsel of record for Defendants.

 1.           Jurisdiction

              The court has jurisdiction under 28 U.S.C. § 1331 because Lead Plaintiff’s claims arise

 under Sections 10(b), 14(a), and 20(a) of the Securities Exchange Act of 1934 (15 U.S.C. §§ 78j(b),

 78n & 78t(a), the “Exchange Act”) and SEC Rules 10b-5 and 14a-9 promulgated thereunder (17

 C.F.R. § 240.10b-5 & 17 C.F.R. § 240.14a-9).

 2.       Pre-Discovery Disclosures

          The parties will exchange, but may not file, Rule 26(a)(1) initial disclosures by May 24,

 2024.

 3.           Discovery Plan

 The parties propose the following discovery plan.

              (a)    Discovery will be needed on the following subjects, subject to the limitations set
                     forth in the Court’s March 29, 2024 Order:

         i.          Whether any of the Defendants violated Sections 10(b), 14(a), or 20(a) of the

 Exchange Act, or SEC Rules 10b-5 and 14a-9 promulgated thereunder;



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      ii.       Whether Defendants’ statements issued during the putative class period were

 materially false or misleading (including whether any of those statements omitted material facts

 necessary in order to make the statements made, in light of circumstances under which they were

 made, not misleading);

     iii.       Whether Defendants omitted to disclose any information in the October 5, 2021

 Definitive Proxy Statement and the documents incorporated by reference there to (the “Proxy”)

 that was required to be disclosed pursuant to Section 14(a) of the Exchange Act and SEC Rule

 14a-9 promulgated thereunder;

      iv.       Whether any of the Defendants knew or recklessly disregarded that any of the

 alleged false statements were false and misleading for purposes of Lead Plaintiff’s Section 10(b)

 claim;

      v.        Whether the price of Inotiv securities during the alleged class period was artificially

 inflated because of Defendants’ alleged false or misleading statements;

      vi.       Whether the alleged false and misleading statements caused the losses suffered by

 Lead Plaintiff and the putative class;

     vii.       The extent of alleged damages sustained by class members and the appropriate

 measure of such alleged damages;

    viii.       Whether a class and/or classes should be certified pursuant to Fed. R. Civ. P. 23;

      ix.       Whether Defendants Leasure and Taylor qualify as control persons within the

 meaning of Section 20(a) of the Exchange Act;

      x.        Whether Lead Plaintiff and the members of the putative class are entitled to a

 presumption of reliance based upon the integrity of the market price of Inotiv’s securities and

 market information relating to Inotiv;




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      xi.         Whether Lead Plaintiff and the members of the putative class are entitled to a

 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens the State of

 Utah v. United States, 406 U.S. 128 (1972);

     xii.         Whether any Defendant is entitled to a due diligence defense, negative causation

 defense or any other affirmative defense;

    xiii.         Whether the market for Inotiv common stock was efficient; and

    xiv.          Whether Lead Plaintiff is an adequate class representative.

            (b)   The Parties believe a protective order is appropriate in this matter to ensure the

 confidentiality of sensitive information that may be produced by Parties and non-parties during

 the course of the litigation. The Parties are in the process of meeting and conferring regarding a

 protective order, which the Parties will submit to the Court for approval.

            (c)   With respect to the disclosure or discovery or electronically stored information

 (“ESI”) in this litigation, the Parties are in the process of meeting and conferring regarding an ESI

 Protocol that will cover such topics as the format in which the Parties agree to produce ESI.

            (d)   The Parties propose that the last day to complete all discovery be January 22, 2026,

 subject to the following interim deadlines:

  Start of fact discovery                                 May 2, 2024 (Thursday)

  Deadline for substantial completion of production January 20, 2025 (Monday)
  of documents

  Completion of fact discovery                            August 7, 2025 (Thursday)

  Opening expert report(s) (except for expert reports September 7, 2025 (Tuesday)
  concerning class certification)

  Rebuttal expert report(s) (except for expert reports November 7, 2025 (Friday)
  concerning class certification)




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  Reply expert report(s) (except for expert reports December 22, 2025 (Monday)
  concerning class certification)

  Completion of expert discovery                          January 22, 2026 (Thursday)

  Close of All Discovery                                  January 22, 2026 (Thursday)

  Bright Line Conference                                  January 29, 2026 (Thursday)

        (e)      The Parties propose the following limitations on discovery:

              a. Maximum of 25 interrogatories by each party to any other party.

              b. Maximum of 25 requests for admission, other than requests for admission related

                 to the authenticity or admissibility of documents, by each party to any other party.

              c. Maximum of 20 depositions, excluding experts (on either class certification or

                 merits issues), by Lead Plaintiff and 20 by defendant(s).

              d. Each deposition, other than a deposition of an expert witness, is limited to a

                 maximum of 7 hours unless extended by stipulation.            Each expert witness

                 deposition is limited to a maximum of 8 hours, unless extended by stipulation.

        (f)      The disclosure of the identity of any Rule 26(a)(2) witness and the witness’s written

 report is addressed in the schedule provided above in subparagraph (d).

 4.     Other Items

        (a)      Class Certification

        Lead Plaintiff seeks to have this action certified as a class action pursuant to Fed. R. Civ.

 P 23(a) and 23(b)(3). The parties’ proposal for the timing of class certification briefing are set

 forth below.

  Motion for class certification to be filed and Lead January 6, 2025 (Monday)
  Plaintiff’s expert report on class issues to be served




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  Deposition of Lead Plaintiff’s class certification February 6, 2025 (Thursday)
  expert to be completed

  Brief in opposition to motion for class certification March 6, 2025 (Thursday)
  to be filed and Defendants’ expert report on class
  issues to be served

  Deposition of Defendants’ expert to be completed      April 7, 2025 (Monday)

  Reply brief in support of motion for class April 21, 2025 (Monday)
  certification to be filed and Lead Plaintiff’s rebuttal
  expert report to be served

  Hearing on class certification                        To be scheduled at the Court’s discretion

          (b)   The last date that Lead Plaintiff may seek permission to join additional parties and

 to amend the pleadings is Monday, June 8, 2025, or approximately sixty (60) days before the close

 of fact discovery.

          (c)   The last date the Defendant(s) may seek permission to join additional parties and

 to amend the pleadings is Monday, June 8, 2025, or approximately sixty (60) days before the close

 of fact discovery.

          (d)   The last date for the filing of all motions for summary judgment or Daubert motions

 is Monday, February 23, 2026, or approximately thirty (30) days from the close of expert

 discovery. Oppositions to any such motions are due on or before April 23, 2026. Replies, if any,

 are due on or before June 8, 2026.

          (e)   The time to file Rule 26(a)(3) pretrial disclosures will be governed by separate

 order.

          (f)   The parties anticipate that, depending on the outcome of any dispositive motions, a

 trial of this matter will take approximately 14-21 days. The parties believe that a more accurate

 assessment of the timing and length of trial can be determined after the conclusion of discovery.




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 5.     Proceeding Before Magistrate

        At this time, all parties do not consent to refer this matter to the currently assigned

 Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for all further proceedings

 including trial and entry of judgment.

 6.     Alternative Dispute Resolution

        The Parties have not engaged in any mediation or other Alternative Dispute Resolution

 (“ADR”) to date. The Parties agree that, while a private mediation may be a productive means of

 reaching a resolution of this action, mediation is premature at this time given that no discovery has

 been exchanged. However, the Parties are prepared to discuss mediation as soon as is practicable.

 Dated: April 26, 2024
                                       Respectfully submitted,



         /s/ Steven J. Buttacavoli                       /s/ Michael J. Diver
        Counsel for Lead Plaintiff                      Counsel for Defendants

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